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                           IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS


BAC LOCAL UNION 15 WELFARE                            CASE NO: 2:16-cv-2242-JTM-GEB
FUND, ET AL.

             Plaintiffs,

v.                                                    MOTION FOR LEAVE TO FILE
                                                      SECOND AMENDED ANSWER
WILLIAMS RESTORATION COMPANY,                         TO ADD CROSS-CLAIM
INC.,

     and

FOX HOLDINGS, INC.,

     Defendants.


            Defendant Fox Holdings, Inc. hereby moves for leave to file its Second Amended

Answer to add a cross-claim pursuant to Federal Rule of Civil Procedure 13(g) and 15(2). In

support of this Motion, Fox Holdings shows to the Court that facts discovered in the course of

discovery have revealed support for a cross-claim against Defendant Williams Restoration

Company. These facts were not known to Defendant Fox Holdings at the time of the filing of its

answer or amended answer, and as such Defendant was unable to assert the cross-claim at an

earlier time. Further, no party will be prejudiced by the filing of this cross-claim and the interests

of judicial economy should permit all claims arising from the Plaintiff’s Complaint to be heard

together in these proceedings. The Court has set a deadline for seeking leave to amend of July

27, 2018 and this motion is filed in accordance with that deadline. Therefore, Fox Holdings

respectfully submits that amendment is proper because justice so requires the amendment, as

further shown by the evidence and brief Fox Holdings submits in support of this motion.




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            Fox Holdings further states that the Cross-Claim arises out of the same transaction or

occurrence that is the subject matter of the original action because the Cross-Claim alleges

misrepresentations against and breach of contract by co-Defendant Williams Restoration arising

in the contract to sell its business to Fox Holdings. That same business sale is the basis of the

Plaintiffs’ allegations against Fox Holdings that it is liable as successor to Williams Restoration

for that company’s alleged obligations to the Plaintiffs. Therefore, Fox Holdings respectfully

submits that it has satisfied the requirements of Rule 13(g) to assert a permissive cross-claim in

this matter.

            A copy of the proposed Second Amended Answer with Cross-Claim and Jury Trial

Demand is submitted with this Motion, and a Brief and Index of Evidence in support of this

Motion shall also be filed.

            WHEREFORE, Fox Holdings prays that the Court grants it leave to file its Second

Amended Answer with Cross-Claim and Jury Trial Demand and any further relief the Court

deems just and appropriate.

            Dated July 27, 2018.

                                                       FOX HOLDINGS INC., Defendant,


                                               By:     /s/ Bonnie M. Boryca
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                                   CERTIFICATE OF SERVICE


            The undersigned hereby certifies that on July 27, 2018, a true and correct copy of the

above and foregoing Motion for Leave to File Second Amended Answer with Cross-Claim was

filed with the Court using the CM/ECF system, which will send electronic notification and link

to the filing to all counsel of record.

                                                       /s/ Bonnie M. Boryca




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